             Case 4:11-cr-40067-JPG                      Document 45           Filed 01/18/12              Page 1 of 6      Page ID #228
A0245B        (Rev. 09/ll) Judgment in a Criminal Case
              Sheet I



                                          UNITED STATES DISTRICT COURT
                                                            Southern District of Illinois
                                                                          )
             UNITED STATES OF AMERICA                                     )        JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                        Jessica N. Childers                               )
                                                                                   Case Number: 4:11CR40067-001-JPG
                                                                          )
                                                                          )        USM Number: 09231·025
                                                                          )
                                                                          )           Peter M. Cohen
                                                                                    Defendant's Attorney
THE DEFENDANT:
~ifpleaded guilty to count(s)          1, 2 and 3 of the Information
                                                                                                                  JAN t 82012
D pleaded nolo contendere to count(s)                                                                        CL£
                                                                                                           SOU! RK II£ 8
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




 18 u.s.c. 641 & 2                  Receipt of Money Stolen from the United States                              3/4/2010                    2



       The defendant is sentenced as provided in pages 2 through           __6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count( s)
DCount(s)      ____________ D is                                   Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenuant must notifY the court and United States attorney of material changes in economic circumstances.




                                                                          Signature




                                                                              J. Phil Gilbert                              District Judge
             Case 4:11-cr-40067-JPG                   Document 45           Filed 01/18/12       Page 2 of 6        Page ID #229
AO 2458     (Rev. 09/ll) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                   Judgment- Page   _,2_ of        6
DEFENDANT: Jessica N. Childers
CASE NUMBER: 4:11CR40067-001-JPG


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 108 months (84 months on Counts 1 and 2 to run concurrent with each other and 24 months on Ct. 3 to run consecutive to
 Counts 1 and 2 for a total of 108 months).



    D The court makes the following recommendations to the Bureau of Prisons:




    D The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
          D at                                       D a.m.     D p.m.       on
          D as notified by the United States Marshal.

    ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          ~ as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
1 have executed this judgment as follows:




          Defendant delivered on                                                          to
a ________________________________                     with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL



                                                                           By --------~~~~~~~~~~------­
                                                                                    DEPUTY UNITED STATES MARSHAL
                Case 4:11-cr-40067-JPG                      Document 45       Filed 01/18/12          Page 3 of 6          Page ID #230
AO 2458        (Rev. 09/ll)Judgment in a Criminal Case
               Sheet 3- Supervised Release
                                                                                                            Judgment Page _ _ _ of
DEFENDANT: Jessica N. Childers
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                                                             SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 3 years (3 years on Counts 1 and 2 and 1 year on Ct. 3). All Counts to run concurrent with each other.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
 thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D        as directed by the probatwn officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check. if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
     l)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observea in plain view of the probation officer;
  ll)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3C- Supervised Release           '
                                                                                           Judgment   Page _ _ _ of
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the restitution in installments of $300.00 or
 ten percent of her net monthly income, whichever is greater over a period of 36 months, to commence 30 days after
 release from imprisonment to a term of supervision until paid in full

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.
 X The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 officer.

 X Due to a history of suffering from bipolar disorder, the defendant shall participate in a program of mental health
 treatment, as directed by the probation officer, until such time as the defendant is released from the program by the
 probation officer.

 X The defendant shall submit to a search, at any time, with or without a warrant, and by any law enforcement or probation
 officer, of the defendant's person and any property, house, residence, vehicle, papers, computer, other electronic
 communication or data storage devices or media, and effects, upon reasonable suspicion concerning a violation of a
 condition of supervision or unlawful conduct by the defendant, or by any probation officer in the lawful discharge of the
 officer's supervision functions. Failure to submit to a search may be grounds for revocation. The defendant shall inform
 any other residents that the premises may be subject to a search pursuant to this condition.

 X The defendant shall permit the probation officer to have access to any personal computer and/or electronic device
 capable of accessing the Internet, World Wide Web, and Electronic Mail. The defendant shall also allow the probation
 officer or designee to conduct regular searches of her computer and/or electronic device using software monitoring devices
 if determined necessary by the probation officer. The defendant shall advise the probation officer of all e-mail addresses
 used on both public and private computers. Th edefendant shall consent to third-party disclosure to any employer or
 potential employer, concerning any computer-related restrictions, that may be imposed. The defendant shall warn other
 residents or occupants of her home that computer systems will be subject to inspection by the probation officer and/or
 authorized contractor..

 X As the Court has reason to believe that the defendant is in need of mental health treatment, the defendant shall undergo
 a mental health assessment and participate in a program of mental health treatment, in anger management, domestic
 violence, cognitive skills, or other forms of therapy or counseling that may be recommended and as directed by the
 probation officer, until such time as the defendant is released from the program by the probation officer. This may include
 a psychiatric evaluation and may require participation in a medication regiment. The defendant shall follow the medication
 regiment as prescribed by a licensed practitioner, at the direction of the probation officer. The defendant shall pay for the
 costs associated with services rendered for counseling and or testing based on a capay sliding fee scale, as directed and
 approved by the United States Probation Office. The capay shall never exceed the total costs of counseling.
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AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                                     Judgment- Page ---"-- of
DEFENDANT: Jessica N. Childers
CASE NUMBER: 4:11CR40067-001-JPG
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                                Fine                                        Restitution
 TOTALS           $ 300.00                                                    $ 0.00                                      $ 806,101.79


 D   The determination of restitution is deferred until        --~ . An                Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 D   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately pro]Jortioned paYJTlent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664\i), all nonfederal victims must be paid
     before the United States is patd.




  333 West Pershing Avenue, Kansas City, MO 64108




TOTALS                              $ _ _ _ _9~9~8:..:.,6'--1~4._::3_:_4            $ _ _ _ __::8:..:.06~·-=10~1_::.7_::9_:_


 D    Restitution amount ordered pursuant to plea agreement $ _ _ _ _ _ _ _ _ __

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(!). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

~ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      rt£ the interest requirement is waived for the           D       fine     'i/ restitution.
      D   the interest requirement for the           D   fme       D     restitution is modified as follows:



*Findings for the total amount oflosses are required under Chapters 109A, 110, !lOA, and ll3A of Title 18 for offenses committed on or after
September 13, 1994, but before April23, 1996.
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AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                                                 6_ of
                                                                                                                Judgment- Page _ _                       6
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                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ri/ Lump sum payment of$                                   due immediately, balance due

           D     not later than                                      , or
           D     in accordance           D    C,      D    D,   D      E, or    ~ F below; or
 B   D     Payment to begin immediately (may be combined with                  DC,        D D, or       D F below); or

C    D    Payment in equal                           (e.g., weekly. monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    D    Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          tenn of supervision; or

E    D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    ri/ Special instructions regarding the payment of criminal monetary penalties:
           The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
           commencement of the term of supervised release. The defendant shall pay the restitution in installments of
           $300.00 or ten percent of her net monthly income, whichever is greater over a period of 36 months, to commence
           30 days after release from imprisonment to a term of supervision until paid in full


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal mone!'ITY penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



ri/ Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.

      David A. Childers 4:11CR40067-002 ($806, 101 .79)The victims's recovery is limited to amount of their loss &
      defendant's liability for restitution ceases if & when the victim receives full restitution. Defendant is required to notify
      Court and Atty General of any material change in economic circumstances that would affect her ability to pay
      restitution. If not paid during period of incarceration, payment of unpaid balance becomes a condition of supervision.
D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I/ assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fme interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.
